Case 2:10-cr-00525-PD Document 179 Filed 12/07/21 Page 1 of 27

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BANISTER V. DAVIS, 139 S.CT. 2742, 204 L.E.D.2D 1130,2019 U.S. LEXIS 4223 ( U.S.JUNE 24, 2019)
MOTION TO ALTER OR AMEND THE JUDGMENT UNDER RULE 59(E)") ' MANIFEST ERROR; ' new trial under rule 59(B)")

Appellant challenges this court's decision under RULE 59(E) and RULE 59(B) BY ascribing error to this court's decision, in
denying appellant DAVIS claim. appellant submits the need to correct a clear error of law or fact or to prevent a manifest
injustice .

manifest error. see MAX'S SEA FOOD V, QUINTEROS, 176 F.3D 699,677 (3d. cir. 1999). appellant also seeks an issue of a
Certificate Of Appealability, and also requesting that this court reconsider a just-issued judgment by issuing a new trial.
under RULE 59(B)").
Case 2:10-cr-00525-PD Document179 Filed 12/07/21 Page 4 of 27

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

v. : “Crim. No. 10-525

TYRONE BENTLEY

 

ORDER
Pro se Inmate Tyrone Bentley seeks § 2255 relief, arguing that his conviction on Count 3

of his Indictment should be vacated following the Supreme Court’s decision in United States v.

 

Davis. 139 S. Ct. 2319 (2019); (Doc. Nos. 150, 152, 164); 28 U.S.C. § 2255. The Government
opposes his Motion, which I will deny. (Doc. No. 168.)
1. LEGAL AND PROCEDURAL BACKGROUND

On July 3, 2010, Bentley and an accomplice robbed a bank. PSR at 3. Bentley brandished
a stun gun; his accomplice brandished a handgun. Trial Tr. 32:20-33:1, 36:6-37:13, 48:8-50:12,
52:3-54:7, Jan. 4, 2012; Trial Tr. 43:9-25, 81:5-82:3, 132:20-133:1, Jan. 5, 2012. No one else was
involved in the robbery. PSR at 3-6. Bentley took some $38,000 but was caught after fleeing from

‘the police first in a minivan and then on foot. Id, at 4-6.

On August 12, 2010, the grand jury charged Bentley with conspiracy to commit armed
bank robbery in violation of 18 U.S.C. §§ 371 and 2113(d) (Count 1); armed bank robbery and
aiding and abetting in violation of 18 U.S.C. § 2113(d) (Count 2); and using and carrying a firearm
during and in relation to a crime of violence and aiding and abetting in violation of 19 U.S.C. § -

924(c)(1) (Count 3). (Doc. No. 1.)

Onunt 2 Gchich Nefendant now challenges) provided as follows:

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On or about July 3, 2010, in Feasterville Trevose, in the Eastern District of
Pennsylvania, defendant Tyrone Bentley, and a person known to the grand jury as
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bank robber #2, knowingly carried and used, and aided and abetted the carrying and
use of, a firearm, that is, a handgun, during and in relation to a crime of violence

for which they may be prosecuted in a court of the United

States, that is, conspiracy

to commit armed bank robbery, in violation of Title 18, United States Code, Section

371, and armed bank robbery and aiding and abetting,
United States Code, Sections 2113(d) and 2. In violation
Code, Sections 924(c){I) and 2.0” oo

(Doc. No. 1.)

in violation of Title 18,
of Title 18, United States

Trial took three days. In charging the jury, I instructed them as follows respecting Count

Count 3 of the indictment charges the defendant, Tyrone Bentley, with using and
carrying a firearm during a crime of violence, which is a violation of federal law.

The offense alleged in Count 2 is a crime of violence. To

find the defendant guilty

of the offense charged in the indictment you must find that the Government proved
each of the following three elements beyond a reasonable doubt. First, that the
defendant committed the crime of armed bank robbery, as charged in Count 2 in
the indictment; second, that during and in relation and in the commission of that
crime the defendant knowingly used or carried a firearm. The phrase “uses or
carries a firearm” means having a firearm or firearms available to assist or aid in
the commission of the armed bank robbery....Third, that the defendant used or
carried the firearm during and in relation to the armed bank robbery....In this case

the Government alleges that the defendant aided and abetted the alleged principal

in committing armed bank robbery and carrying and using a firearm during a crime
of violence as charged in Counts 2 and 3 of the indictment. In order to find the

defendant guilty of armed bank robbery and carrying
furtherance of a crime of violence because he aided

and using a firearm in
and abetted the alleged

principal in committing these offenses you must find that the Government proved
beyond a reasonable doubt each of the following four requirements. First, that the

alleged principal committed the offenses charged by

committing each of the

elements of the offenses charged as [have explained those elements to you in these
instructions....Second, that the defendant knew that the offense—the offenses
charged were going to be committed or were being committed by the alleged
principal; third, that the defendant knowingly did some act for the purpose of aiding
the alleged principal in committing the specific offenses charged and with the intent
that the alleged principal commit those specific offenses; and, fourth, that the
defendant’s acts did in some way aid the alleged principal to commit the [sic]

offenses.

Trial Tr. 171:11-172:9, 174:7-175:10, Jan. 6, 2012.

The Parties jointly submitted a veraict SICeL Wiel 2 app:

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portion respecting Count 3 provided as follows:

Count Three: Using and Carrying a Firearm During a Crime of Violence and Aiding
and Abetting[.] We, the jury, unanimously find the defendant, Tyrone Bentley...”

(Doc. Nos. 69,86.)

The jury convicted Bentley of all charges. Trial Tr. 183:9-186:9; (Doc. No. 86.)

On August 22, 2012, I sentenced Bentley to 408 months’ incarceration: 60 months on
| Count 1; 108 months on Count 2, to be served concurrently with Count 1; and a mandatory
minimum term of 300 months on Count 3, to be served consecutively to the terms imposed on
Counts 1 and 2. (Doc. No. 107). On June 13, 2013, the Third Circuit affirmed. (Doc. No. 110.)
Bentley sought § 2255 relief, which I denied. (Doc. Nos. 118, 129.) The Third Circuit
subsequently granted Bentley permission to file the instant Motion. (Doc. No. 149.)

Bentley now seeks release under § 2255, arguing that his conviction on Count 3 is invalid.
28 U.S.C. § 2255; (Doc. No. 150.) The Government opposes his Motion. (Doc. No. 168.) On
September 7, 2021, I appointed Carina Laguzzi to represent Bentley. (Doc. No. 174.) On October
20, 2021, she filed a counseled Reply to the Government’s Response. (Doc. No. 175.) The matter
has been fully briefed.

YI. LEGAL STANDARD

I may grant relief under § 2255 where: (1) “the sentence was imposed in violation of the
Constitution or laws of the United States,...was in excess of the maximum authorized by law, or
is otherwise subject to collateral attack;” or (2) “the court was without jurisdiction to impose such
sentence.” 28 U.S.C. § 2255(a). “(Where the record affirmatively indicates that the claim for
relief is without merit,” I may deny relief without holding an evidentiary hearing. Page v. United

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States, 462 F.2d ¥32, ¥95 (50 Cu. 1772).
Chase 2n0-creQ06259D Document t7@ Filed 1999/23, Page 966); 27

Ill. DISCUSSION
Bentley has submitted numerous, discursive memoranda, making it difficult to determine
the substance of his Motion. (See Doc. Nos. 151-52, 164-66, 169-73.) I must construe Bentley’s

filings liberally. Estelle v. Gamble, 429 U.S. 97, 106 (1976); Higgs v. Att’y Gen. of the US., 655

 

F.3d 333, 339 (3d Cir. 2011). Bentley appears to argue that because the Indictment and the Jury
Verdict Sheet do not specify whether his § 924(c) violation (Count 3) must be predicated on armed
bank robbery (Count 2) or conspiracy to commit armed bank robbery (Count !), 1 must presume
that Count 3 was predicated on the lesser conspiracy charge. (Doc. Nos. 152, 164.) He further
argues that if his § 924(c) conviction was predicated on the conspiracy charge, it must be vacated
because conspiracy is not a crime of violence.

A. Crime of Violence

Section 924(c) carries a mandatory minimum consecutive sentence for “any person who,
during and in relation to any crime of violence...uses or carries a firearm, or who, in furtherance
of any such crime, possesses a firearm.” 18 U.S.C. § 924(c)(1)(A). Bentley argues that his
conspiracy offense was statutorily defined as a crime of violence only under § 924(c)(3)(B)—the
“residual clause.” (Doc. No. 122.) In United States v. Davis, the Supreme Court held that the
residual clause was unconstitutionally vague. 139 S. Ct. at 2324. Bentley thus argues that
conspiracy cannot be a predicate crime of violence under § 924(c)(3).

The Government concedes that conspiracy to commit armed bank robbery no longer
qualifies as a crime of violence. (Doc. No. 168 at 5.) The Government argues, however, that
Bentley was properly convicted on Count 3 based on the predicate crime of armed bank robbery.
The Third Circuit has held that armed bank robbery is a crime of violence under § 924(c)(3)’s

surviving elements clause. United States v. Johnson, 899 F.3d 191, 203-04 (3d Clr. 2013) (clung

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18 U.S.C. § 924(c)(3)(A)).
B. Bentley’s Crime of Violence
Bentley’s § 924(c) conviction was predicated on armed bank robbery. Once again, in
defining armed bank robbery, I explicitly instructed the jury that it could base any Count 3
conviction only on Count 2—armed bank robbery. Trial Tr. 17 1:11-172:9, 174:7-175:10, Jan. 6,
2012. Accordingly, even though the Indictment and Jury Verdict Sheet (Doc. Nos. 1, 86) do not
specify whether Count 3 could be predicated on Count 1 or 2, the jury was instructed that only

Count 2 was a crime of violence and that a guilty verdict on Count 3 had to be based on Count 2

alone. This was a correct statement of the law. See Johnson, 899 F. 3d at 203-04; see also Davis,

 

139 S. Ct. at 2324.

In these circumstances, there was no possibility that the jury based its Count 3 verdict on
Count 1. See Weeks v. Angelone, 528 U.S. 225, 234 (2000) (“A jury is presumed to follow” the
trial judge’s instructions). Moreover, given that the evidence showed without contradiction that
Bentley and his confederate were both active participants (and, indeed, the only participants) in
the robbery, that Bentley brandished a stun gun, and that his confederate brandished a firearm,
there could be “no reasonable possibility that the jury based its § 924(c) convictions only on the
conspiracy as opposed to the bank-robbery counts.” United States v. Wilson, 960 F.3d 136, 151
(3d Cir. 2020) (citing United States v. Duka, 671F.3d 329, 356 (3d Cir. 2011)) (internal quotations

omitted); see also United States v. Bledsoe, No. 20-2733 2021 WL 688807, at *1 (3d Cir. Jan. 11,

 

2021).
In sum, there was no error, and I will deny Bentley’s Motion.
Tv. CONCLUSION

I will deny Bentley’s § 2255 Motion without an evidentiary hearing. Because reasonable

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jurists would not debate the correctness of my ruling, I will not issue a certificate of appealability.

 

See Slack v. McDaniel, 529 U.S. 473, 483-84 (2000).
* * *

AND Now, this 29th day of October, 2021, upon consideration of Defendant Tyrone
Bentley’s pro se Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C. § 2255 (Doc.
No. 150); the Government’s Response to Motion to Correct Sentence under 28 U.S.C. § 2255
(Doc. No. 168); Defendant’s counseled Supplemental Reply to Government’s Response (Doc. No.
175); Defendant’s supplemental pro se submissions (Doc. Nos. 151-52, 164-66, 169-73); and all
related submissions, it is hereby ORDERED that: .

1. Defendant’s Motion (Doc. No. 150) is DENIED;
2. A Certificate of Appealability SHALL NOT ISSUE;

3. The CLERK OF COURT shall CLOSE this case.

AND IT IS SO ORDERED.

/s/ Paul S. Diamond
_ Paul S. Diamond, J.
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

Crim. No. 10-525

Vv.

TYRONE BENTLEY

 

ORDER

On October 29, 2021, I denied Tyrone Bentley’s § 2255 Motion. (Doc. Nos. 150, 176.) ~
Now, in a pro se filing I have liberally construed as a Motion for Reconsideration, Bentley
challenges my decision. (Doc. No. 177.) I will deny his Motion.

A party seeking reconsideration must demonstrate “at least one of the following grounds:
(1) an intervening change in the controlling law; (2) the availability of new evidence that was not
available when the court [made its initial order]...; or (3) the need to correct a clear error of law
or fact or to prevent manifest injustice.” Max's Seafood Cafe ex rel. Lou-Ann, Inc. v. Quinteros,
176. F.3d 669, 677 (3d Cir. 1999). Where a motion for reconsideration is “simply an effort to

relitigate...earlier arguments,” it should be denied. McCall v. Ebbert, 384 F. App’x 55, 58 (3d

 

Cir. 2010).
Bentley argues that my October 29 Order contains clear errors of law or fact that must be
corrected to prevent manifest injustice. Yet, Bentley simply seeks to relitigate the issues I properly

rejected. Although he also seeks to raise a new argument—that the jury was confused during

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could properly be raised on reconsideration).

AND NOW, this 29th day of November, 2021, upon consideration of Tyrone Bentley’s
Case 2:10-cr-00525-PD Document178 Filed 11/29/21 Page 2 of 2
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pro se Motion for Reconsideration (Doc, No. 177), it is hereby ORDERED that the Motion (Doc,

Now 177) is DENIED for the reasons stated here and in my October 29, 2021 Order.

AND IT IS SO ORDERED.

/s/ Paul S. Diamond
Paul S. Diamond, J.

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Case 2:10-cr-00525-PD Document1 Filed 08/12/10 Page 1 of 4

Pp?) IN THE UNITED STATES DISTRICT COURT —

FOR THE EASTERN DISTRICT OF PENNSYLVANIA
. . . . . a
UNITED STATES OF AMERICA - © -:° CRIMINAL NO. i 0 “Ss AS

v. . : DATE FILED:

TYRONE BENTLEY : VIOLATIONS:
_ 18 U.S.C. § 371 (conspiracy to commit
: armed bank robbery - 1 count)
— .  18US.C, § 2113(d) (armed bank robbery -
FILED : - I count)
18 U.S.C. § 924(c) (using and carrying a
AUG 12 2040 : firearm during and in relation to a crime of

MICHAEL E. KUNZ, CI violence - 1 count)
BLE. KUNZ, Clerk 18 U.S.C. § 2 (aiding and abetti
By Dep. Clerk U.S.C. § 2 (aiding and abetting)

 

INDICTMENT
' COUNT ONE
THE GRAND JURY CHARGES THAT:
I. On or about July 3, 2010, in Feasterville Trevose, Pennsylvania, in the
Eastern District of Pennsylvania, defendant
TYRONE BENTLEY
conspired and agreed, with another person known to the grand jury as bank robber #2, to commit
an offense against the United States, that is, to knowingly and unlawfully commit armed bank
robbery of the Wachovia National Bank, located at 3625 Horizon Boulevard in Feasterville
’ Trevose, Pennsylvania (hereafter “the Bank”), the deposits of which were insured by the Federal

Deposit Insurance Corporation, in violation of Title 18, United States Code, Section 21 13(d).
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__ MANNER AND MEANS

2. It was part of the conspiracy that on or about July 3, 2010, defendant

TYRONE BENTLEY and bank robber #2 committed a gun-point robbery of the Wachovia
National Bank, located at 3625 Horizon Boulevard in Feasterville Trevose, Pennsylvania,.
OVERT ACTS
~ In furtherance of the conspiracy, defendant TYRONE BENTLEY and bank

robber #2 committed the following overt acts, among others, in the Eastern District of

Pennsylvania:

On or about July 3, 2010:

1, Defendant TYRONE BENTLEY and bank robber #2 entered the Bank
wearing masks and armed with a fireatm and a stun-gun,

2. Once inside the Bank, defendant TYRONE BENTLEY and bank robber
#2 brandished a handgun and a stun-gun, ordered the tellers to open their drawers, and demanded
money from-the bank’s tellers at gunpoint,

3. Delendant TYRONE BENTLIY vaulted the teller counter and removed

cash from several teller drawers und placed it inito a pillow case as bank robber #2 remained by

the front door with his gun pointed at a bank employee's back.

4, . Defendant TYRONE BENTLEY and hank robber #2 stole approximately
$38,182, and fled from the bank into a gelaway car.

All in violation of Title 18. United States Code. Section 371
‘Case 2:10-cr-00525-PD Document179 Filed 12/07/21 Page 24 of 27

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THE GRAND JURY FURTHER CHARGES THAT: |

1, Paragraph 2 and Overt Acts | through 4 of Count One of this indictment —
are incorporated here. |

2. On or about July 3, 2010, in Feasterville Trevose, in the Eastern District of
Pennsylvania, defendant |
TYRONE BENTLEY,
~ and a person known to the grand jury as bank robber #2, knowingly and unlawfully, by force and |
violence, and by intimidation, took, and aided and abetted the taking, from employees of the
Wachovia National Bank, 3625 Horizon Boulevard in Feasterville ‘Trevose, Pennsylvania, lawful
currency of the United States, belonging to, and in the care, custody, control, management, and
possession of the Wachovia National Bunk, the deposits of which were insured by the Federal
Deposit Insurance Corporation, and, in so doing, defendant BENTLEY and bank robber #2 |
knowingly and unlawfully assaulted and put in jeopardy the lives of the employees of the
Wachovia National Rank, and other persons, by use of dangerous weapons, that is, a handgun
and a stun-gun.

In violation of Title 18, United States Code, Séctions 2113(d) and 2.
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COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:

On or about July 3, 2010, in Feasterville Trevose, in the Eastern District of

Pennsylvania, defendant .
TYRONE BENTLEY,

and a person known to the grand jury as bank robber #2, knowingly carried and used, and aided

_ and abetted the carrying and use of, a firearm, that is, a handgun, during and in relation toa

| crime of violence for which they may be prosccuted in a court of the United States, that is,
conspiracy to commit armed bank robbery, jn violation of Title 18, United States Code, Section
371, arid armed bank robbery and aiding and abetting; in violation of Title 18, United States
Code, Sections 2113(d) and 2.

In violation of Title 18, United States Code, Sections 924(c)(1) and 2.

A TRUE BILL:

 

 

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Fane DAVID MEMENGFER
United States Attorney L-
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anv
Jury Charge hsa

With respect to the law, however, we are on a
somewhat different footing. It is my duty to tell you what
the correct rules of law are that apply in this case, and it
is your duty to accept the rules of law as I and I alone give
them to you and to apply them in this case, regardless of
whether or not the rules give you -- the rules I give you

differ from what counsel may have told you the law is or what

someone else may have told you the law is or what you think

- the law is or what you think the law ought tobe.

The defendant is charged with specific crimes in a
formal charging document called an indictment. The indictment
defines the scope of the trial and notifies the defendant the
charges he is facing. Your job as jurors is to determine
whether or not the Government has proved him guilty of the
crimes with which he is charged in the indictment. To perform
that function you must understand clearly what crimes are
charged; therefore, I will now explain the indictment to you.

I will send a copy of the indictment to the jury
room with you to aid you in your deliberations, together with
a verdict sheet that corresponds to the charges in the
indictment.

Keep in mind that the indictment represents a formal
method of charging someone with the commission of a crime. As
such, you may not consider it as evidence of the defendant’s

guilt or draw any inference of guilt from it. The indictment

 
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